                                                              United States Bankruptcy Court
                                                                    District of Arizona
In re:                                                                                                                 Case No. 22-05814-MCW
ISAAC ASENCIO                                                                                                          Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0970-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 06, 2024                                               Form ID: pdf011                                                            Total Noticed: 7
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 08, 2024:
Recip ID                 Recipient Name and Address
db                     + ISAAC ASENCIO, 10417 W. PIONEER STREET, TOLLESON, AZ 85353-8412
16847070               + DANE COUNTY CHILD SUPPORT AGENCY, 210 MARTIN LUTHER KING JR BLVD, ROOM 365, MADISON WI 53703-3350

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/Text: cse.lccl@azag.gov
                                                                                        May 06 2024 22:29:00      ARIZONA DEPARTMENT OF ECONOMIC
                                                                                                                  SECURITY, CHILD SUP, ARIZONA
                                                                                                                  ATTORNEY GENERAL'S OFFICE, 2005 N.
                                                                                                                  CENTRAL AVE, PHOENIX, AZ 85004-1545
cr                     + Email/Text: bankruptcynotices@azdor.gov
                                                                                        May 06 2024 22:29:00      ARIZONA DEPARTMENT OF REVENUE,
                                                                                                                  Office of the Arizona Attorney General, c/o Tax,
                                                                                                                  Bankruptcy and Collection Sct, 2005 N Central
                                                                                                                  Ave, Suite 100, Phoenix, AZ 85004-1546
cr                     + Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                         May 06 2024 22:43:14                     PRA Receivables Management, LLC, PO Box
                                                                                                                  41021, Norfolk, VA 23541-1021
16823819               + Email/Text: cse.lccl@azag.gov
                                                                                        May 06 2024 22:29:00      ARIZONA DEPARTMENT OF ECONOMIC
                                                                                                                  SECURITY, CHILD SUPPORT SERVICES
                                                                                                                  SECTION, TODD SHERIDAN, 2005 N.
                                                                                                                  CENTRAL AVE, PHOENIX, AZ 85004-1545
16793990               + Email/Text: bankruptcynotices@azdor.gov
                                                                                        May 06 2024 22:29:00      Arizona Department of Revenue, c/o: Tax,
                                                                                                                  Bankruptcy and Collection Sect, 2005 N Central
                                                                                                                  Ave. Suite 100, Phoenix, AZ 85004-1546

TOTAL: 5


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 08, 2024                                            Signature:           /s/Gustava Winters


        Case 2:22-bk-05814-MCW Doc 34 Filed 05/06/24 Entered 05/08/24 21:32:39                                                                       Desc
                             Imaged Certificate of Notice Page 1 of 4
District/off: 0970-2                                              User: admin                                                            Page 2 of 2
Date Rcvd: May 06, 2024                                           Form ID: pdf011                                                       Total Noticed: 7



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 3, 2024 at the address(es) listed below:
Name                             Email Address
RUSSELL BROWN
                                 on behalf of Trustee RUSSELL BROWN ecfmailclient@ch13bk.com

RUSSELL BROWN
                                 ecfmailclient@ch13bk.com

Rachel Elizabeth Flinn
                                 on behalf of Trustee RUSSELL BROWN rflinn@ch13bk.com dsmith@ch13bk.com

THOMAS ADAMS MCAVITY
                                 on behalf of Debtor ISAAC ASENCIO documents@phxfreshstart.com tom@phxfreshstart.com

TODD SHERIDAN
                                 on behalf of Creditor ARIZONA DEPARTMENT OF ECONOMIC SECURITY CHILD SUPPORT SERVICES
                                 cse.lccl@azag.gov

U.S. TRUSTEE
                                 USTPRegion14.PX.ECF@USDOJ.GOV


TOTAL: 6




        Case 2:22-bk-05814-MCW Doc 34 Filed 05/06/24 Entered 05/08/24 21:32:39                                                             Desc
                             Imaged Certificate of Notice Page 2 of 4
    1 Russell Brown
      CHAPTER 13 TRUSTEE
    2 3838 North Central Avenue
      Suite 800
    3 Phoenix, Arizona 85012-1965
      602.277.8996 x 320
    4 mail@ch13bk.com

    5                             UNITED STATES BANKRUPTCY COURT
    6                                       DISTRICT OF ARIZONA
    7
        In re                                                Chapter 13
    8                                                        Case No. 2-22-bk-05814 MCW
        ISAAC ASENCIO,
    9                                                        TRUSTEE'S MOTION TO DISMISS
                                                             CASE FOR DELINQUENT PLAN
   10                                                        PAYMENTS AND FAILURE TO
                                                             PROVIDE COPIES OF TAX
   11
                                          Debtor.
                                                             Deadline: June 05, 2024
   12

   13       Russell Brown, CHAPTER 13 TRUSTEE, pursuant to 11 U.S.C. § 1307(c), moves to
   14 dismiss the case. The Debtor has defaulted in plan payments in the amount of $2,231.00. Also,

   15
        the Trustee has not received from the Debtor the income tax returns for 2023.
   16
            Pursuant to Local Rule 2084-15, the Court will grant the Trustee's motion unless by June
   17
        05, 2024, the Debtor:
   18
            (1) Brings the Plan payments current and provides copies of the tax returns to the Trustee;
   19
            (2) Files a Notice of Conversion to Chapter 7 and serves a copy on the Trustee; or
   20
            (3) Files a modified plan containing a moratorium of the delinquent plan payments, and
   21
        provides a copy of the tax returns to the Trustee.
   22
                                                                                    Rachel Flinn
   23
                                                                                    2024.05.03
   24                                                                               15:42:06
   25                                                                               -07'00'
   26

   27




Case 2:22-bk-05814-MCW Doc 34 Filed 05/06/24 Entered 05/08/24 21:32:39                                    Desc
                     Imaged Certificate of Notice Page 3 of 4
   28
    1
      A copy of this Motion to Dismiss was
    2 mailed or emailed on the below date to:

    3

    4
             ISAAC ASENCIO
             10417 WEST PIONEER STREET
    5        TOLLESON, AZ 85353

    6

    7

    8
             PHOENIX FRESH START
    9        THOMAS ADAMS MCAVITY
             4131 MAIN STREET
   10        SKOKIE, IL 60076
   11        documents@phxfreshstart.com;tom@nwrelief.com;
             faiza@phxfreshstart.com
   12
                           Rachel Flinn
   13
                           2024.05.03
   14                      15:42:13
   15
                           -07'00'
        R Flinn
   16

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                                                                                  In re Asencio
                                                                 Case No. 2-22-bk-05814 MCW
                                                              Trustee's Motion to Dismiss Case

                                                Page 2 of 2
Case 2:22-bk-05814-MCW Doc 34 Filed 05/06/24 Entered 05/08/24 21:32:39                            Desc
                     Imaged Certificate of Notice Page 4 of 4
